Case: 2:95-cr-00044-GCS-NMK Doc #: 1662 Filed: 01/26/06 Page: 1 of 5 PAGEID #: 637




                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF OHIO
                                EASTERN DIVISION

ANTHONY GIBBS,

               Petitioner,

       v.                                             CASE NO. 2:06-cv-00038
                                                      CRIM. NO. 2:95-cr-044(21)
                                                      JUDGE SMITH
UNITED STATES OF AMERICA,                             MAGISTRATE JUDGE KEMP

               Respondent.



                             REPORT AND RECOMMENDATION

      Petitioner, Anthony Gibbs, a federal prisoner, brings the instant motion to vacate, set aside,

or correct sentence pursuant to 28 U.S.C. §2255. This matter is before the Court on its own motion

for preliminary consideration under Rule 4 of the Rules Governing Section 2255 Proceedings. For

the reasons that follow, the Magistrate Judge RECOMMENDS that this action be DISMISSED.

                              I. PROCEDURAL HISTORY

       Petitioner’s underlying convictions on drug and firearm offenses involve the following facts,

as summarized by the United States Court of Appeals for the Sixth Circuit:

               In 1990, after a friend was shot in a drug trafficking incident, Robert
               Dotson and Marshon Mays decided to band together to form a group
               that would offer protection to its members in the area directly north
               of downtown Columbus, Ohio. This area was known as the Short
               North, and the group dubbed itself the Short North Posse ("SNP") or
               the 4th Street Posse.

               The government alleges that the goal of the group was to prevent
               anyone not living in the Short North from selling cocaine base
               ("crack cocaine" or "crack") there without permission. The
               government contends that the Short North Posse achieved this goal
               through threats and intimidation. The state and federal governments
               conducted an extensive undercover investigation, headed by Agent
Case: 2:95-cr-00044-GCS-NMK Doc #: 1662 Filed: 01/26/06 Page: 2 of 5 PAGEID #: 638




               Rodney Russell of the Bureau of Alcohol, Tobacco and Firearms, that
               included a large number of controlled buys of crack cocaine. In
               March 1995 the grand jury handed down a 185-count indictment
               against forty-one defendants. Count 1 of the indictment alleged that
               all forty-one of the defendants: did knowingly, intentionally and
               unlawfully combine, conspire, confederate and agree together with
               each other, and with diverse other persons, both known and unknown
               to the Grand Jury, to possess with the intent to distribute and to
               distribute cocaine and more than 5 grams of cocaine base, commonly
               referred to as crack, Schedule II controlled substance, in violation of
               21 U.S.C. §§ 841(a)(1), 21 U.S.C. 841(b)(1)(C) and 841(b)(1)(B)(iii).
               J.A. at 125 (Indictment).

               [S]even defendants... pleaded not guilty, and their cases were
               consolidated for trial. The bulk of the government's evidence
               consisted of testimony from cooperating witnesses, most of whom
               were alleged members of the SNP who had pleaded guilty. Other
               relevant evidence came from undercover officers and non-SNP drug
               dealers or users.

               The other counts charged individual defendants with, among other
               things, drug trafficking and firearms violations, including possession
               with intent to distribute crack in violation of 21 U.S.C. § 841,
               distributing crack in violation of 21 U.S.C. § 841, and using or
               carrying firearms during and in relation to a drug trafficking crime in
               violation of 18 U.S.C. § 924(c).

               The jury convicted all seven of these defendants of the conspiracy
               charged in Count 1. Each of the defendants was also convicted of
               separate drug trafficking and firearms crimes.... Defendant Anthony
               Gibbs was convicted of possession with intent to distribute crack
               (Counts 55, 132, and 182), using or carrying a firearm during and in
               relation to a drug trafficking crime (Count 133), and distributing
               crack (Count 119).

United States v. Gibbs, 182 F.3d 408 (6th Cir. 1999). Petitioner’s conviction on conspiracy to

distribute crack cocaine was overturned on appeal, but his convictions and sentence were otherwise

affirmed. Id. On March 30, 2000, petitioner was re-sentenced to 188 months on counts 119, 132,

and 182, such sentences to run concurrently with each other, plus 60 months on count 133, such

sentence to run consecutively to the other sentences imposed. Doc. No. 1399. On February 8, 2002,

                                                 2
Case: 2:95-cr-00044-GCS-NMK Doc #: 1662 Filed: 01/26/06 Page: 3 of 5 PAGEID #: 639




the mandate issued from the United States Court of Appeals for the Sixth Circuit affirming

petitioner’s sentence. Doc. No. 1484. On June 3, 2002, the United States Supreme Court denied

petitioner’s petition for a writ of certiorari. See Docket.

       On January 17, 2006, petitioner filed the instant pro se motion to vacate, set aside, or correct

sentence pursuant to 28 U.S.C. §2255. He asserts that his sentence violates the United States

Supreme Court’s decisions in Blakely v. Washington, 542 U.S. 296 (2004), and United States v.

Booker, 543 U.S. 220 (2005).

       Petitioner’s federal habeas corpus petition may be untimely. Under 28 U.S.C. §2255,

               A 1-year period of limitation shall apply to a motion under this
               section. The limitation period shall run from the latest of--

               (1) the date on which the judgment of conviction becomes final;

               (2) the date on which the impediment to making a motion created by
               governmental action in violation of the Constitution or laws of the
               United States is removed, if the movant was prevented from making
               a motion by such governmental action;

               (3) the date on which the right asserted was initially recognized by
               the Supreme Court, if that right has been newly recognized by the
               Supreme Court and made retroactively applicable to cases on
               collateral review; or

               (4) the date on which the facts supporting the claim or claims
               presented could have been discovered through the exercise of due
               diligence.

Petitioner’s conviction in this case became final on June 3, 2002, when the United States Supreme

Court denied his petition for a writ of certiorari. Sanchez-Castellano v. United States, 358 F.3d 424,

426 (6th Cir. 2004). The instant action was not filed until 2006, long after such date. However,

without reaching the question of whether petitioner has alleged extraordinary circumstances that

would justify equitable tolling of the statute of limitations for the time period at issue, the Court

                                                  3
Case: 2:95-cr-00044-GCS-NMK Doc #: 1662 Filed: 01/26/06 Page: 4 of 5 PAGEID #: 640




notes that the United States Court of Appeals for the Sixth Circuit has held that neither Booker nor

Blakely are retroactively applicable to cases on collateral review. United States v. Saikaly, 424 F.3d

514, 517 (6th Cir. 2005); Humphress v. United States, 398 F.3d 855, 860-63 (6th Cir. 2005).

Petitioner simply cannot take advantage of the rules announced in Booker and Blakely. Therefore,

such cases do not provide petitioner the relief he seeks.

       In view of all of the foregoing, the Magistrate Judge RECOMMENDS that this action be

DISMISSED.

       If any party objects to this Report and Recommendation, that party may, within ten (10) days

of the date of this report, file and serve on all parties written objections to those specific proposed

findings or recommendations to which objection is made, together with supporting authority for the

objection(s). A judge of this Court shall make a de novo determination of those portions of the

report or specified proposed findings or recommendations to which objection is made. Upon proper

objections, a judge of this Court may accept, reject, or modify, in whole or in part, the findings or

recommendations made herein, may receive further evidence or may recommit this matter to the

magistrate judge with instructions. 28 U.S.C. §636(b)(1).

       The parties are specifically advised that failure to object to the Report and Recommendation

will result in a waiver of the right to have the district judge review the Report and Recommendation

de novo, and also operates as a waiver of the right to appeal the decision of the District Court




                                                  4
Case: 2:95-cr-00044-GCS-NMK Doc #: 1662 Filed: 01/26/06 Page: 5 of 5 PAGEID #: 641




adopting the Report and Recommendation. See Thomas v. Arn, 474 U.S. 140 (1985); United States

v. Walters, 638 F.2d 947 (6th Cir. 1981).



                                            /s/ Terence P. Kemp
                                            United States Magistrate Judge




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